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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO



         IN RE                                                    CASE #17-03725 EAG
         ELIZABETH VEGA RAMOS &
         MARTIN RODRIGUEZ COLON                                   CHAPTER 11
         SSN #xxx-xx-8084 / xxx-xx-1157

            Debtor

           D.I.P. Second REQUEST for EXTENSION of TIME TO FILE PLAN & DISCLOSURE
                           STATEMENT & TO FILE OUTSTANDING MORs

       TO THE HONORABLE COURT:

              COMES NOW, the debtor in possession who respectfully informs as follows:
       1. On May 27, 2017 the above captioned debtor filed its petition under the dispositions of
          Chapter 11 of the Bankruptcy Code. The debtor i s a n i n d i v i d u a l a n d n o t a
          S m a l l B u s i n e s s a n d will continue as debtor in possession pursuant to §1101 and
          §1 1 0 7 of Title 1 1 of the United States Code.
       2. The Status hearing was heard on August 18, 2017 wherein February 14, 2018 was set as the
          date by which the Plan and Disclosure Statement would be filed with the Court. This first date
          for the Plan of Reorganization was extended by this Court until April 20, 2018.
       3. Notwithstanding, Puerto Rico unfortunately continues in the state of Emergency caused by the
          two back to back hurricanes in the area of Caguas. Added to this is tax season, and there has
          been increasing delay in Accountant’s office much due to the extended closing of his office
          post Hurricane Maria, as well as the congestion typical at tax time.
       4. Counsel for debtor’s office has only been able to re-open fully 2 days ago when she has finally
          recovered part of her computer system after expensive and extended repair and recovery of the
          office data destroyed and infected with mold from the hurricanes. Added to this is a previously
          programmed bankruptcy Convention in Denver, Colorado hosted by National Association of
          Consumer Bankruptcy Attorneys where we have the privilege of forming part of a panel at the
          Convention from April 17 to April 24, 2018 when we return to Puerto Rico and to our office.




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       5. The outstanding MORs have been completed by the Accountant before the intense tax season
           but were returned for corrections and have been further delayed as a result of the tax season
           rush already described herein.
       6. Under the circumstances debtor requests an additional 60 days, or at least until June 19, 2018.
           WHEREFORE, D.I.P. respectfully prays for an extension of time to:
           a) submit the pending MORs until April 30, 2018;
           b) to submit the Plan and Disclosure Statement until June 19, 2018;
           c) any other remedy that this Court deems just and proper.

                                                      NOTICE
              Within fourteen (14) days after service as evidenced by the certification, any party against
       whom this paper has been served, or any other party to the action who objects to the relief sought
       herein, shall serve and file an objection or other appropriate response to this paper with the Clerk’s
       office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or other
       response is filed within the time allowed herein, the paper will be deemed unopposed and may be
       granted unless: (I) the requested relief is forbidden by law; (ii) the requested relief is against public
       policy; or (iii) in the opinion of the Court, the interest of justice requires otherwise.
              I HEREBY CERTIFY, that on this same date, I electronically filed the foregoing with the
       Clerk of the Court using the CM/ECF Filing System which will send a notification, upon
       information and belief, of such filing to the U.S. Trustee and to all subscribed users & to all others
       on attached List of Creditors.
       JOSE F CARDONA JIMENEZ on behalf of Creditors FRANKLIN CREDIT MANAGEMENT
       CORP. & SCOTIABANK DE PUERTO RICO jf@cardonalaw.com

       GUSTAVO A CHICO BARRIS on behalf of Creditor MMM HEALTHCARE INC. PMC
       MEDICARE CHOICE INC.
       gchico@ferraiuoli.com, edocketslit@ferraiuoli.com;hruiz@ferraiuoli.com;gchico@ecf.courtdrive.c
       om

       SONIA COLON COLON on behalf of Creditors MMM HEALTHCARE INC. & PMC
       MEDICARE CHOICE INC.
       scolon@ferraiuoli.com, edocketslit@ferraiuoli.com;scolon@ecf.courtdrive.com

       MONSITA LECAROZ ARRIBAS, US TRUSTEE ustpregion21.hr.ecf@usdoj.gov

       FRANSHESKA JANET PABON on behalf of 3rd Party Plaintiff FIRSTBANK
       FPabon@lvvlaw.com, NCruz@lvvlaw.com

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       Jenyfer Garcia Soto on behalf of Creditors MMM HEALTHCARE INC. & PMC MEDICARE
       CHOICE INC. Ferraiuoli, LLC 221 Ponce de Leon Avenue 5th Floor San Juan, PR 00917

       RAMON J SANABRIA, CPA 122 CALLE PADIAL CAGUAS, PR 00725

             In Caguas, Puerto Rico, this April 17, 2018.


                                          /s/LA Morales
                                          LYSSETTE A. MORALES VIDAL
                                          USDC PR #120011
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